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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA,

      Plaintiff,                                   Case No. 17-cr-20332
                                                   Hon. Matthew F. Leitman
v.

CHEVIZE KING,

     Defendant.
__________________________________________________________________/

      ORDER WAIVING COSTS OF ELECTRONIC MONITORING

      On September 10, 2020, the Court granted Defendant Chevize King’s motion

for compassionate release under 18 U.S.C. § 3582(c)(1)(A). (See Order, ECF No.

44.) In that order, the Court added as a condition of King’s supervised release that

he be subject to “electronic monitoring.” (Id., PageID.673.)        Due to King’s

indigence, the Court WAIVES the costs associated with that monitoring.

      In all other respects, the Court’s August 20, 2020, order remains unchanged.

       IT IS SO ORDERED.

                                      s/Matthew F. Leitman
                                      MATTHEW F. LEITMAN
                                      UNITED STATES DISTRICT JUDGE


Dated: January 11, 2021




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       I hereby certify that a copy of the foregoing document was served upon the
parties and/or counsel of record on January 11, 2021, by electronic means and/or
ordinary mail.

                                           s/Holly A. Monda
                                           Case Manager
                                           (810) 341-9761




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